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                           UNITED STATES DISTRICT COU RT
                           SOUTHERN DISTRICT OF FLORIDA
                         CASE N O.12-14082-CR-M ART1NEZ/LYNCH

 U N ITED STA TES OF A M ERICA

        Plaintiff,
 V S.

 W ISAN U LOU D K AM ,

        Defendant.
                               /

        ORDER ADO PTING M AGISTR ATE'S REPORT AND RECO M M ENDATION

        THIS CAUSE came beforetheCoul'tupon theOrderofReference from theDistrict
 Courtto conductaChangeofPleabefore aM agistrateJudge.
        THE M ATTER wasreferred to M agistrateJudgeFrank J.Lynch Jr,on Decem ber18,

 2012.A ReportandRecommendationwasfiledonDecember28,2012,(D.E.#117),
 recomm ending thattheDefendant'spleaofguiltybe accepted.TheDefendantand the

 GovernmentwereaffordedtheopportunitytofileobjectionstotheReportandRecommendation,
 howevernonewerefiled.The Courthasconducted adenovoreview oftheentirefile.
 Accordingly,itis
        O R DER ED AN D AD JUD G ED that
        TheReportand Recomm endation ofUnited StatesM agistrateJudgeFrank J.Lynch Jr,is
 hereby A dopted and A pproved in its entirety.
        TheDefendantisadjudgedguiltytothesoleCotmtoftheInformation whichchargesthe
 Defendant,did knowingly and willfully com bine,conspire,confederate,and agreewith others
 known and unknown totheUnited StatesAttorney tocom m itan offense againstthe United
 States,thatis,topossess,obtain,acceptand receivealien registration receiptcards
 (greencards),anddoctunentsprescribedbystatuteandregulationforentryintoandasevidence
 ofauthorized stay and em ploym entin theUnited States,knowingthedocumentsto havebeen
 procured bym eansofany falseclaim and statement,and tohavebeen otherwise procured by
 fraud,andunlawfullyobtained,inviolationofTitle18,UnitedStatesCode,Section 1546(a).
        DONE AND ORDERED inChambersatMi 'Florida,this//dayofJatmaly,2013.

                                                  JO S
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                                                  UN     D STA TES D 1 TRICT JU DG E
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  Copied:Hon.M agistrate Lynch
  A11CounselOfRecord
  U .S.Probation Office
